                                               September 14, 2021

VIA ECF
Honorable John P. Cronan
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007


Re:    United States v. Ralph Scurlock
       21 Cr. 489 (JPC)


Dear Judge Cronan,

        I write to respectfully request that the Court adjourn the status conference that is currently
scheduled for tomorrow, Wednesday, September 14, 2021, for approximately 30 days. The
defense is still in the process of reviewing the discovery in this case (and has encountered
difficulty providing a copy to Mr. Scurlock, which the parties are attempting to rectify) and
needs additional time to do so. In addition, undersigned counsel is currently out of state and
unavailable to appear in person tomorrow.

        The Government, by Assistant United States Attorney Jane Chong, has no objection to
this application.

       Given the nature of this request, the defense consents to the exclusion of time under the
Speedy Trial Act until the newly selected date. The defendant’s request is granted. The status conference
                                                 scheduled for September 15, 2021 is adjourned to October 14,
       Thank you for your consideration.         2021 at 3:00 p.m., contingent on the ability of the jail and the
                                                 Marshals Service to facilitate the defendant’s transportation to
Respectfully submitted,                          the courthouse at that date and time. The Court will confirm
                                                 with the parties closer to the scheduled date. The conference on
/s/
                                                 October 14, 2021 will be held in Courtroom 12D of the Daniel
Sylvie Levine
                                                 Patrick Moynihan United States Courthouse, 500 Pearl Street,
Assistant Federal Defender
                                                 New York, NY 10007. The Court finds that, pursuant to 18
Counsel for Mr. Scurlock
                                                 U.S.C. 3161(h)(7)(A), the ends of justice served by excluding
                                                 time until October 14, 2021 outweigh the interests of the public
                                                 and the defendant in a speedy trial, by allowing time for the
                                                 defendant and his counsel to continue their review of discovery
                                                 and to consider any pretrial motions.
                      SO ORDERED.
                      Date: September 14, 2021 1                 _____________________
                      New York, New York                            JOHN P. CRONAN
                                                                 United States District Judge
